         Case 1:12-cr-00844-AJN Document 471 Filed 10/20/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                                  10/20/2020
 United States of America,

               –v–
                                                                              12-cr-844 (AJN)
 Nelson Gustavo Colon-Torres,
                                                                                  ORDER
                       Defendant.



ALISON J. NATHAN, District Judge:

       A sentencing hearing in this matter is hereby scheduled for October 28, 2020, at 1:00

p.m. The sentencing will proceed by videoconference using the CourtCall platform. The Court

will issue a scheduling order with more information about using the CourtCall platform before

the hearing.

       The Defendant’s sentencing submission is due October 23, 2020. The Government’s

sentencing submission is due October 26, 2020.


       SO ORDERED.


Dated: October 20, 2020                          __________________________________
       New York, New York                                 ALISON J. NATHAN
                                                        United States District Judge
